                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


 Central National Gottesman Inc., a New       )
 York Corporation,                            )
                                              )
        Plaintiff,                            )
                                              )
        v.                                    )          3:18-cv-640-DSC
                                              )
 Nakos Paper Products, Inc., a North          )
 Carolina Corporation, Christos L. Nakos,     )
 individually, and Lambros C. Nakos,          )
 individually,                                )
                                              )
        Defendants.                           )


                           STIPULATED PROTECTIVE ORDER

       This matter comes before the Court upon the stipulation of Plaintiff and Defendants
pursuant to Fed. R. Civ. P. 26(c) for a Protective Order to allow for the production of
confidential or proprietary information. Now, therefore, with the consent of the parties, IT IS
HEREBY ORDERED:


   1. Confidential Information: The term “Confidential Information” shall mean information
      (regardless of how generated, stored, or maintained), documents, testimony, or tangible
      things obtained during discovery in this action that the producing party reasonably believes
      in good faith contains confidential, proprietary or commercially sensitive information
      including, but not limited to (a) trade secrets, (b) proprietary business information, (c)
      information implicating an individual’s legitimate expectation of privacy, including social
      security numbers, (d) information that a client of a party would consider to be confidential
      or proprietary information, and (e) information within possession of a party that is already
      subject to any non-disclosure or confidentiality agreement with a third party. Confidential
      Information shall also include any derivative information that is based on, derived from, or
      contains any Confidential Information such as estimates, analyses, notes, summaries,
      extracts and other materials and documents prepared by, or for, a party or its
      representatives.

   2. Scope of the Order: This Order shall govern the use and dissemination of all documents,
      material, or information designated as Confidential Information in accordance with the
      terms of this Order. This Order shall apply to all pre-trial proceedings and at trial, subject


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   to any modifications to this order that may be provided in any pre-trial order. The parties
   agree to confer in good faith on a protective order to govern during trial in this matter. This
   Order, however, shall remain in effect until an order to govern the trial proceedings is
   entered.

3. Use of Confidential Information: Confidential Information shall be used solely for
   purposes of conducting this litigation and not for any business, personal or other purpose
   whatsoever. Confidential Information shall be kept confidential by the parties and shall
   not be disclosed to any person except as expressly allowed by Paragraph 5, 7, or 11 of this
   Order. Confidential Information shall be kept in such a manner that only those authorized
   to view Confidential Information may have access to it, and parties shall implement
   appropriate computer security measures to ensure that any employee or representative of a
   party who is not authorized to view Confidential Information shall not have the ability to
   access any Confidential Information.

4. Disclosure: The term “Disclosure” shall mean to provide, impart, transmit, transfer,
   convey, publish or otherwise make available.

5. Disclosure of Confidential Information: Confidential Information may be disclosed to the
   following persons only (each such person, an “Authorized Recipient”):

       a. attorneys of record for all parties in the case and their associated lawyers, their legal
          assistants, their paralegals, and their secretarial and clerical employees, who are
          actually engaged in assisting them in this litigation;

       b. outside experts, including but not limited to expert witnesses, consultants, and other
          providers of specialized services and their clerical assistants who are actually
          engaged in assisting the attorneys of record and other authorized persons in the
          preparation or conduct of this litigation, but only upon the execution by such
          person, prior to such disclosure, of an acknowledgment of this Order in the form
          attached hereto as Exhibit A, which shall be retained by the attorney of record for
          the party that discloses such Confidential Information;

       c. an officer or employee of a party who is necessary to assist such party with the
          prosecution or defense of any claim in this matter, but only upon the execution by
          such person, prior to such disclosure, of an acknowledgment of this Order in the
          form attached hereto as Attachment A, which shall be retained by the attorney of
          record for the party that discloses such Confidential Information;

       d. the Court and its personnel in this action (including any relevant appellate court),
          court reporters and their staff, to whom disclosure is reasonably necessary for this
          litigation.

6. Designation of Confidential Information: The designation “Confidential Information”
   shall be made by affixing on the document or material containing such information the


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following words: “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER.” Any
material, document, or information for which it is impracticable to affix such a legend may
be designated by written notice to that effect with a reasonable description of the material
in question.

   a. Information on a computer disk, data tape, or other medium that is in native format
      may be designated as “Confidential – Subject to Protective Order” by either:

            i. Informing counsel for the parties to this action in writing that the computer
               disk, data tape, or other medium contains such Confidential Information,
               and where applicable, specifying the file name or other particular
               information being designated; or

           ii. By such other means as agreed to by the parties. To the extent practicable,
               such physical medium should also be labeled “Confidential – Subject to
               Protective Order.”      Any party receiving Confidential Information
               designated under this Paragraph shall be responsible for appropriately
               labeling any printed version(s) of such information that it creates.

   b. In the case of deposition testimony, any party may designate information disclosed
      during a deposition as Confidential Information by either:

            i. Identifying on the record at the deposition the information that is to be
               treated as Confidential Information. In the event that a party wishes to use
               or refer to Confidential Information at any deposition, the party that
               designated such information as Confidential Information (the “Designating
               Party”) may require all persons other than the deponent, court reporter, or
               other parties or their Representatives already permitted access to the
               Confidential Information, to be excused from the deposition during the time
               that the Confidential Information is being disclosed or discussed. In the
               event the deponent is a person who is not permitted access to Confidential
               Information, then the deponent shall be required to execute an
               acknowledgement of this Protective Order in the form attached hereto as
               Exhibit A;

           ii. Marking the portions of the deposition transcript to be designated as
               Confidential Information within twenty-one days after receipt of the final
               transcript. When the deponent and the attending parties’ do not agree to
               waive the reading, correcting, and signing of the transcript, all information
               disclosed during a deposition shall be treated as Confidential Information
               before the expiration of the twenty-one day period unless otherwise agreed
               to by the parties and the deponent. If any deposition testimony or any
               document or information used during the course of a deposition is
               designated as Confidential Information, each page of the deposition
               transcript containing such information shall be labeled as “Confidential –


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                   Subject to Protective Order” and the first page of the deposition transcript
                   shall be labeled in a manner that makes it readily apparent that the transcript
                   contains Confidential Information.


7. Use of Confidential Information in Court Filings. A party that desires to use any
   Confidential Information in any motions, briefs, pleadings and/or other evidentiary
   submissions shall be required to file a redacted version of such document and
   simultaneously file a motion seeking an order sealing, redacting, or otherwise protecting
   such Confidential Information from public disclosure (a "Motion to Seal"). Alternatively,
   prior to filing any document containing Confidential Information, the filing party may give
   the Designating Party written notice of the party’s intent to use such Confidential
   Information at least ten days prior to the date that the party desires to do so to provide an
   opportunity for (a) the Designating Party and the party that desires to use the Confidential
   Information to negotiate an agreement that avoids the need to file Confidential Information
   under seal or, in the absence of an agreement, (b) the Designating Party to file a motion
   seeking an order sealing, redacting, or otherwise protecting such Confidential Information
   from public disclosure (a "Motion to Seal"). If the Designating Party files a Motion to Seal
   within ten days following receipt of such written notice, the party desiring to use
   Confidential Information shall (a) maintain the confidential status of the Confidential
   Information pending the court's ruling on the Motion to Seal and (b) use the Confidential
   Information only in strict conformity with the court's ruling on the Motion to Seal. If the
   Designating Party fails to file a Motion to Seal within ten days of receipt of the written
   notice, any party desiring to use Confidential Information may use the applicable
   Confidential Information in any court filing or proceeding without any confidentiality
   protection. If the party that desires to use Confidential Information is the Designating
   Party, it may file a Motion to Seal without prior notice to any other party. In circumstances
   where it is not practicable or feasible to follow the ten day written notice/motion
   requirement set forth above, the party seeking to use Confidential Information may ask the
   Court, on reasonable notice to the Designating Party, to modify such requirement as
   appropriate. A Party seeking to use Confidential Information in a motion, brief, pleading
   and/or other document may, pending a ruling by the Court on a Motion to Seal or other
   permitted form of request, redact Confidential Information from the filed motion or brief
   and submit an unredacted version of such motion or brief under seal for in camera review.

8. Disputes over Designations: If a party disagrees with a Designating Party’s designation
   of information as Confidential Information, counsel for the objecting party shall provide
   the Designating Party with written notice of its disagreement. The written notice shall
   specifically identify the information or restriction on access in dispute. If the Designating
   Party does not agree to the requested modification within ten days of receipt of a
   designation objection, or the issue is not otherwise resolved by the parties during such ten
   day period, then the objecting party may move the court for appropriate relief. The
   Confidential Information designation and the restrictions on access shall remain on the
   information in dispute until the Court rules on the motion.



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9. Inadvertent Disclosure of Confidential Information: Any failure to designate information
   as “Confidential Information” shall not constitute a waiver of a Designating Party’s ability
   to subsequently designate such information as Confidential Information. A Designating
   Party may subsequently designate any information as Confidential Information if such
   Confidential Information is inadvertently disclosed, and the protections afforded under this
   Protective Order to Confidential Information shall become effective upon such subsequent
   designation; provided, however, that such late designation shall not deprive any party from
   challenging the designation of material as Confidential Information pursuant to the
   procedures set forth herein.

10. Inadvertent Disclosure of Privileged Material: The production of documents containing
    information protected by the attorney-client privilege and/or work product doctrine, or
    other privileges recognized by law, shall not be deemed a waiver, in whole or in part, of a
    party’s claim of confidentiality or privilege as to either the document or the information
    disclosed, or to related documents or information. A party that has received documents or
    information subject to a privilege which such party knows or has reason to believe to have
    been inadvertently disclosed, or is informed by the disclosing party that the inadvertent
    disclosure was made shall immediately upon discovery or notification of the same, return
    or (with respect to any such documents or information which have been altered or
    incorporated into other documents in a privileged manner) destroy all documents
    constituting the same or incorporating such information and shall make no use thereof.

11. Disclosure Under Legal Compulsion. If any person (a “Compelled Party”) within the
    possession of Confidential Information is, in the opinion of its counsel, compelled as a
    matter of law to disclose any Confidential Information to a third party, the Compelled Party
    shall promptly provide a written notice of the order or other process compelling disclosure
    to the Designating Party. Such notice must be sent to the Designating Party within the
    earlier of three business days of receipt and one business day of the Compelled Party's
    determination that the order or other process compels the disclosure of Confidential
    Information, to permit the Designating Party, at its own expense, to seek a protective order
    or take other appropriate action. The Compelled Party shall use reasonable efforts to assist
    in the Designating Party's efforts to obtain, at the Designating Party's own expense, a
    protective order or other reasonable assurance that confidential treatment will be accorded
    such Confidential Information. In the absence of a protective order, the Compelled Party
    or its Representatives may disclose to the third party compelling disclosure (without
    liability hereunder) only the part of the Confidential Information as the Compelled Party
    or its Representatives may reasonably determine in good faith is required by law to be
    disclosed.

12. Return of Confidential Information: Within sixty days upon termination of this litigation
    by settlement or final judgment, the attorneys of record and other authorized persons for
    each party receiving Confidential Information shall destroy or, at the party's option,
    assemble and return to the party originally furnishing such information all documents
    containing Confidential Information and delete all Native Files. This paragraph shall not
    be construed to require the return or destruction of any regularly maintained litigation files


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   held by the attorneys of record for each party as archival records or any other attorney-
   client work product created for the party. Any Confidential Information, or portions or
   excerpts thereof, which are not returned or destroyed pursuant to this Paragraph shall
   remain subject to the terms of this Order.

13. No Prejudice. Entry of this Order shall not prejudice the right of any party to object to the
    scope or timing of any request for the production of any Confidential Information. All
    parties’ rights to assert any such objection, and respond thereto, are expressly preserved.

14. Modification: This Order is without prejudice to the right of any party to seek modification
    or amendment of the Order by motion to the Court; to seek and obtain additional protection
    with respect to Confidential Information as such party may consider appropriate; to object
    to the production of documents or information; or to apply to the Court for an order
    compelling production of documents or information.

15. Preservation of Objections: Neither the terms of this Order nor the disclosure or
    designation as Confidential Information pursuant to this Order shall be deemed to establish
    the admissibility under the Federal Rules of Evidence of any information subject to this
    Order.

SO ORDERED.
                                    Signed: September 18, 2020




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STIPULATED AND AGREED TO BY:

/s/ Felton E. Parrish                     /s/ Megan M. Stacy
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                                          EXHIBIT A

       I have been informed by counsel that certain documents or information to be disclosed to
me in connection with the matter entitled Central National Gottesman Inc., v. Nakos Paper
Products, Inc., et al. have been designated as confidential. I have been informed that any such
document or information labeled as “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER”
are confidential by Order of the Court, and I have reviewed and understand the terms of the
Stipulated Protective Order entered on ________________.

       Under penalty of contempt of Court, I hereby agree that I will comply with the terms of the
Stipulated Protective Order and not disclose any information contained in such documents to any
other person or entity.

DATED:         ____________________________


               ____________________________


Signed in the presence of:   ______________________________




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